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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

HEIMO RIEDEL,

            Plaintiff,

v.                                        Civ. Action No. 1:22-CV-155
                                                 (Judge Kleeh)

WEST VIRGINIA UNIVERSITY BOARD OF GOVERNORS,
for and on behalf of West Virginia University,
and MICHAEL SCHALLER, PH.D., individually,

            Defendants.


                            ORDER OF DISMISSAL

      This case has been compromised and settled.                 For reasons
discussed on the record, the motion to hold Plaintiff in civil
contempt is DENIED AS MOOT [ECF No. 67].                It is hereby ORDERED
that the case is DISMISSED WITH PREJUDICE and STRICKEN from the
docket of the Court, subject to reopening on motion of any party,
and for good cause shown, within 90 days.
      The parties need not submit any additional proposed dismissal
or other final order unless it is required by law or is necessary
under the terms of any agreement resolving this civil action.
      It is so ORDERED.
      The Court DIRECTS the Clerk to TERMINATE any other pending
motions and to send a copy of this Order to counsel of record and
any unrepresented party.
      DATED: March 7, 2025

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                                   THOMAS S. KLEEH, CHIEF JUDGE
                                   NORTHERN DISTRICT OF WEST VIRGINIA
